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IN THE UNITED 51 AT ES DISTRI€T €OURT
FOR THE DISTRI€T OF GGLUMBI.A

HENRY L. KLEIN - D.C. Bar Number LA0003, *
individually and on behalf of others similarly *
situated and Levy Gardens Partners 2007 LP *
844 Baronne Street, New Orleans, LA 70113

versus CIVIL ACTION

'X~

STEVEN TERNER MNUCHIN, in his
capacity as the Secretary cf the Department

Of the TreaSury and as the director of the Federal
lnsurance Oftice established by the M
DODD-FRANK WALL STREET REFORM
AND CONSUMER PROTECTIONACT

United States Departinent Of the Treasury

1500 Pennsylvania Avenue NW

Washington, D.C. 20220

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ORIGINAL COMPLAINT FOR MANDAMUS

 

fn a case Offirsr impression vis-a-vis the Secrerarv of the Treasurv, the gravamen cf the

complaint brought by Hem"y L. Klein and Levy Gardens Partners 2007 LP is as follows:

EACH YEAR S[NCE DODD-FRANK THE DEPARTMENT OF THE TREASURY
HAS REPORTED TO (1`) THE PRESIDENT OF THE UNITED STATES, (z`i) THE
HOUSE COMMITEE ON FINANCIAL SER V[CES and (iz`i) THE SENATE
COMMITTEE ON BANK[NG, HOUS]NG AND URBAN AFFAIRS ON THE
HEALTH OF THE INSURANCE INDUSTRYIN THE [U\UTED STATES
YET...

THE REPOR TS BY THE DEPARTM'ENT OF THE TREASURY PURSUANT
TO TITLE V OF THE DODD-FRANK WALL STREET REFORM' AND
CONSUMER PROTECTIONA CT HA VENE VER INCLUDED THE “... TITLE
INSURANCE... ” SECTOR OF THE INDUSTRY.

 

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AS DETAILED BELOW, THE T[TLE INSURANCE IND USTRY BILKS THE

AMER]CAN CONSUMER OUT OF FORTY-THREE MH LION ($43,000.000)

DOLLARSA DA Y, PA YING LESS THAN 4% OF PREMIUMS CO[JFCTEDI.

I. JURISDICTION AND VENUE

l. This Court has original jurisdiction pursuant to 28 U.S.C. § 1331 because this is an
action arising under the Constitution and Laws of the United States, specifically Title V of the Doa’a'-
Fraiik Wciii Streei Reform and Consumer Proreciion Acf cf 2011T 0, Public Law l l l-203.

2. This court has jurisdiction pursuant to 28 U.S.C. § 1361, Which provides:

§ 1361. Action to compel an officer of the United States to
perform his duty

The district courts shall have original jurisdiction of any action in the
nature of mandamus to compel an officer or employee of the United
States or any agency thereof to perform a duty owed to the plaintiff

3. Venue is proper in the District of Columbia pursuant to 28 U.S.C. § 1391(6) in that
the Secretary of the Treasury is an officer or employee of the United States and the failures to carry
out Congressional mandates occurred in the District of Columbia Where Defendant Mnuchin is found
and maintains his cabinet position at 1500 Pennsylvania Avenue NW, Washington D.C., 20220.

II. ALTERNATIVE RELIEF SOUGHT

4. The only plausible reason Treasury did not include “title insurance” in its annual
Dodd-Franl< reports is because it’s not insurance; after all, title policies (i) are retrospective; (ii) do
not redistribute risk QM; (iii) charge a one-time g and not a “...premium...”, (iv) contractually
Warrant title at the micro-moment a transfer is recorded', (v) are not meaningfully regulated by state
law', (vi) cannot generate actuarial statistics for Risl<-Based-Capital reporting purposes, and (vii)
cannot meet the Supreme Court’s definition of “...insurance...” per Groiip Life & Heaith lawrence
Companv v. Rova! Driig Compariv, 440 U.S. 205 (1979) and FTC v. T[COR Title, 504 U.S. 62l

(`1992), among other compelling cases and vigorous documentaries calling for the guillotine to fall.

 

1 On November ll, we appealed directly to Secretary l\/Inuchin and asked to meet,
Exhibit A. Based on full-year results from M industry statistician Demotech, the industry’s
daily rake Was from 543 million or $46 million. The latest statistics are made Exhibit B_

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5. Without a concession by Secretary l\/Inuchin Mi a judicial declaration by this Court
that title policies are _rQr “...contracts of insurance...”, the Department of the Treasury Lrsi
supplement its 2011-2017 Annual Reports to include title insurance, as clearly mandated by
Congress in the 2010 Dodd-Frank Wall-Street Reforrn and Consumer Protection Act (“the Act”)z.

III. PARTIES AND “STANDING”

6. Because the Act was passed to protect ci_li citizens and taxpayers from “...abusive
financial services...” (such as the sale of a mislabeled product that has no value), both plaintiffs have
(i) w standing as citizens and consumers and (ii) M standing as multimillion-dollar
victims of the “...abusive financial services...” rampant in the alleged title insurance industryi.

7. Moreover, lead plaintiff Henry L. Klein was recognized as having “...Article IlI
Standing...” in the matter of Kiein v. The Arnerican Lanci Tiiie Assoeiarion, Fia'eiiiv Nationai
Financiai Grou,n, Firsi Arnericcin Tiiie fnsurcinee Coinpcinv, Siewarf Tii[e Guaranrv Coinpanv and
Old Rem-ibiie Narional Tiiie Insnrcince Conipanv. D. C. Docket 12-1061 RBW.

8. To be sure, the 12(b)(6) dismissal in Kiein v. ALTA was limited to lack of anti-trust
standing and did nothing to diminish the Article Ill right to seek §1361 Mandamus to the Secretary

of the Treasury to include the title insurance sector in the Annual Reports to the President, the House

 

and the Senate as required by Dodd-Frank at Title V, infra.
9. Stated differently, neither the Secretary of the Treasury nor the FIO had the luxury

of excluding the title insurance sector from the rigors of:

“,..monitoring gill aspects of the insurance industry and identifying
issues or gaps in the regulation of insurers that could contribute to a

systemic crisis in the insurance industry or the United States financial
system...”

 

3 Declaratory relief and mandamus are treated interchangeably, Haines v. Seeretar_y
of the Air Foree, 453 F.2d 233 (3rd Cir. 1971). Our principal cause is in the nature of mandamus

3 Not the least deplored of all abusive financial services is “...splitting premiums...”
between lawyers who produce the business and the insurance underwriter wherein the lawyers
who handle the closing keep 80% of the premiums collected and give 20% to the title insurer, a
matter which occurred in Kiein v. Lewis Tifie, described by RESPA as a “kicl<back", i_n_@.

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10. As further grounds for recognizing ‘“standing” to seek mandamus, Klein conducted
a survey of the National Association of lnsurance Commissioners (“NAIC”) to establish that the
business ofM insurance is @t regulated by state law in the manner described by the D.C. Circuit
in Procior v. State Farn’i, 561 F.2d 262 (D.C. Cir.1977).

11. A second survey of the NAIC by Klein led to the exposure that all states but lowa
have given title insurance companies a “free pass” on Risk-Based Capital Reporting, a poisoned
arrow for the quiver against this cie-regulated industry, giving lead plaintiff Klein powerful
“standing” to bring this mandamus action against the Secretaiy as a matter of public interest in
pursuit of strict enforcement of Dodd-Frank mandates, Association ofData Processing Serviee
Organizations v. Canip, 406 F. 2d 837 (S‘h Cir. 1969) (a plaintiij may pursue a ‘pablic interest ....[if
lie is ] si'gni'jieantly involved to have standing to represent the public...”’

12. Corporate plaintiff Levy Gardens Partners 2007 LP has significant “standing” as the
purchaser of THlRTY-FIVE MILLION, SlXTY-THREE THOUSAND, SlX HUNDRED AND
EIGHTEEN ($35,063,618) DOLLARS of worthless insurance policies at an October, 2008 closing
conducted by a law firm with a captive insurance agency, an “...abusive financial service. . .” deplored
by HUD in the passage of the Real Estate Settlement Procedures Act (“RESPA") and other laws
ignored at Will. See, GAO April 2007 Report Title lnsurance Actions Neecied to linnrove Oversighi

oftlze Title lndustrv ana' Better Protect Consiiniers.

lV. RIGHT TO A WRIT OF MAN])AMUS:
THE “...ZONE OF INTERESTS...” TEST

13. Fundarnentally, a mandamus plaintiff must establish (1) that he has a clear right to
the relief sought, (2) that the mandamus-defendant owes the mandamus-plaintiff a duty to perform
the task in question, and (3) that there are no other adequate remedies available.

14. ln answering these threshold questions, courts apply the “..zone of interests...” test,
meaning that the interests the plaintiff seeks to protect by mandamus are within “...those zones of
interests to be protected or regulated by the statute in question...”, Association OfData Processing

Serviee Organizations, lne. v. Carnr), 397 U.S. 150 (1970).

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15. This being “...a case of first impression...” in that the Secretary of the Treasury has
U been challenged for leaving gaps in the M of the Annual Title V Reports, the proper (and
perhaps only) recourse is to look to the legislation to see what Congress intended in the passage of
the law at issue.

16. Dodd-Frank Title V Was devoted exclusively to the insurance industry and established
the Federal lnsurance Office (“F 10”) as the monitor; but nothing in Dodd-Frank gave FIO
“...discretion...” to exclude title insurance from the ambit of Title V.

17. Pursuant to § 313(c)(1)(A), the FlO was charged with monitoring

“...a_h` aspects of the insurance industry, including identifying issues
or gaps in the regulation of insurers that could contribute to a
systemic crisis in the insurance industry or the United States financial
system”.
18. Bilking the American Consumer out of $43,000,000 daily constitutes or “...could
contribute to a systemic crisis in the insurance industry or the United States financial system...”.

19. Pursuant to § 313(n)(2), the Director of the FIO was charged with the following
obligation as described at §303(d):

“Beginning September 30, 201 l, the Director_slz_i;l,l submit a report on
or before September 30 of each calendar year to the President and to
the Committee on Financial Services of the House of Representatives
and the Committee on Banking, Housing and Urban Affairs of the
Senate on the insurance industry and any other information deemed
relevant by the Director or requested by such committees.”

20. Pursuant to § 313(p)(l) the FIO was instructed as follows:

“Not later than 18 months after the date of enactment of this section,
the Director §Ml conduct a study and submit a report to Congress on
how to modernize and improve the system of insurance regulation in
the United States.

21 . Pursuant to § 3 13(p)(2), the F 10 Was instructed to include “. . consumer protection...”
and “...gaps in state regulation...” in the mandatory process, meaning that the issues raised herein do

not involve “...discretionary...” matters and mandamus must issue (unless it’s not “...insurance...”).

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V. APPLICABLE MANDAMUS LAW

22. lt is undisputed that § 1361 Mandamus is a remedy to be invoked only in the most
extraordinary circumstances, ln re: Papanclreou, 139 F.3d 247 (D.C. Cir. 1998), Consolicla),‘ea`r
Eclison v. Aslrcroft, 286 F.3d 600 (D.C. Cir. 2002).

23. § 1361 l\/Iandamus is available when a public official violates or fails to perform a
purely “. . .ministerial duty. . .” not involving discretionary jud gment, Cartier v. Seeretarv ofState1 506
F.2d 191, (D.C. Cir.1974).

24. Here, the Secretary of the Treasury made @ report to the President, the Senate and/ or
the House of Representatives for the years 201 1 , 2012, 2013, 2014, 2016 and 2017 regarding the Me
insurance industry, a luxury the Secretary did not have.

25. ln “...briefly...” addressing the subject of title insurance in the 2015 Report, the FIO
recognized (but did nothing about) several investigations into abusive financial services, including
the New York Department of Financial Services’ discovery that “...title insurers were annually
spending millions of dollars on meals, entertainment, and gifts for attorneys and other real estate
professionals who order title insurance on behalf of their clients...", Exhibit C.

26. While a Writ of l\/landamus will not dictate to FIO on how to deal with patent
financial abuses in the title sector, the writ M require that the ministerial task of reporting to the
President, the House and the Senate the existence of the 343 million daily fleecing of the consumer.

27. Because mandamus law gives the courts discretion to issue (or not to issue) the §
1361 writ sought hereby, we cite compelling facts that support the request MM, including
Scott Woolley’s most-often declaration, lnside America 's Riehesi lnsurance Raelcet, Forbes,
November 13, 2006:

“TITLE INSURANCE FIRMS RAKE IN $18 BILLION A

YEAR FOR A PRODUCT THAT IS OUTDATED.
LARGELY UNNEEDED AND PROTECTED BY LAW.4”

 

‘i $18,000,000,000 divided by 365 equals 349,315,068 per day. We have elected,
however, to cite more conservative statistics from Demotech, lnc. for prior years, which round
out theM client rake to 343 l\/Iillion.

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28. As we further establish, both plaintiffs meet the mandamus test of being

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“...significantly involved to have standing to represent the public interest... as set forth in
Association ofData Processing, supra, at 843 (reversed in favor of "standing ” for other reasons
at 397 U.S. 150).

VI. HENRYL. KLEIN v. LEWIS TITLE AND LISKOW & LEWIS

29. Disappointed but not defeated by the final outcome in Klein v. AL TA, on February
15, 2017, a Petition for Declaratory Judgment was filed in the Louisiana State Civil District Court
for the Parish of Orleans, entitled Henrv L. Klein, the Succession ofFredericlc P. Heisler and Levv
Gardens Partners 2007 LP v. Lewis Title lnsurance Companv, lnc., Liskow & Lewis, PLC and
Jegrev Martin “Jeff" Landrv, Attornev G'eneral of the State ofLouisianaj.

30. After Lewis Title removed the case to the United States District Court for the Eastern
District of Louisiana, Docket 17-2205, the issue presented in th_is Complaint was raised and argued
to the Honorable Nannette lolivette Brown, whose analysis at Document 41 provides valuable
guidance as to the seminal question: is it or is it not insurance?

3 1 . Because of its thorough and even-handed explanation of ibi/g sides to the controversy,

the l\/lemorandurn Opinion by Judge Brown in Klein v. Lewis Title is made Exhibit D hereto, With

the following quote replicated g totidern verhis6.'

 

5 As to the “...disappointed but not defeated...” comment, lead plaintiff Klein
concluded his writ application to the United States Supreme Court with a pledge:

“ln landmark cases, the landmark litigant is chen forced to
tolerate signi`j?cant abuse before any wrong can he corrected
Fightingfor reform exacts a higher price than sitting idly by.

When petitioner was ‘awarded ’ $605, 000 on over $l<S’ million in
illusory [ owner ’s] coverage, he pledged to God and to himself that
what happened to Levy Gardens should never happen to anyone
again ”

Although filing an entire memorandum opinion as an “exhibit” is unusual, we
consider Document 41 in Klein v. Lewis Title to be the “bible” in terms of articulating the issues
from both sides and understanding the analysis that must be made and how to proceed.

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“...it appears from Plaintiff` s Petition for Damages that Plaintiffs cite
to Group Life lnsurance Cornpanv is simply to include the Supreme
Court’s discussion of what constitutes “insurance", such as the
Supreme Court’ s holding that ‘risk underwriting’ is an ‘indispensable
characteristic of insurance’ and requires ‘some element of spreading
risk more widely’, which Plaintiffs appear to allege supports their
argument that the underlying contracts at issue are not ‘contracts of

insurance’.

VII. UNCONSCIONABLE LEVEL OF “...THE FLEECING OF AMERICA...”

32. ln Secretary Mnuchin’s decision-making process to either (i) stipulate that title

policies are not “...contracts of insurance...” as Judge Brown left that question open for further

consideration in Klein v. Lewis Title or (ii) to supplement the Title V Annual Reports for 201 1, 2012,

2013, 2014, 2015, 2016 and 2017, both Secretary Mnuchin and this court should consider the

unconscionable level of what has been described by the lowa State Bar Association as “A

FLEECING OF AMERICA”, Exhibit E, and the fully documented 220-page book by the

distinguished Professors Eaton, “THE AMERICAN TlTLE INSURANCE INDUSTRY: How a

Cartel Fleeces the American Consumer” Exhibit F.

33. From the Third Quarter Marlcet Share Report for 2017, Demotech, lnc. reports the

following performance statistics for the following Underwriters, exposing the percentages of claims

paid against premiums collected:
UNDERWRITER
Agents National
Alamo
Alliant
American Eagle
American Guaranty
American Security
Amrock
Amtrust

Arsenal

$
$
$
$
$
$
$
$
$

Y_EBMI__IMS

5,585,157
57,168,938
91,104,799

6,203,028
24,311,268

3,082,056

9,558,438
12,781,624

4,248,831

PAYME NTS

$ 312,228
s 2,734,217
s 1,292,746
$ M
s 208,861
s 3,645
$ MQ
$

$

Z€I'O

 

% PAID
5.559%
4.782%
1.418%
0.000%
0859%

0.118%
0.000%
0.000%
0.000%

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Attorneys (COL)
Attorneys (ILL)
Bankers

Chicago
Commonwealth
Conestoga

CT Attorneys
Dakot,a Homestead
Entitle

Fidelity National
First American (LA)
First, American TGC
First American TIC
First National
General

Investors TIC

lowa Guaranty
Land Corp (COL)
National Consurner
National Investors
National New York
North American
Ohio Bar

Old Republic

One Title

Premier Land

Real Advantage
Security TG

Sierra

Southwest Land
Stewart TGC
Stewart TIC

Title Resources

$ 10,140,499
$ 45,843,235
$ 3,088
$1,591,979,246
$ 511,306,807

$ 5,790,699
$ 75,648,560
s 1,371,105

$ 7,311,519
s1,427,388,840
$ 33,346,031
s 104,744,360
s2,597,333,504
$ 72,069,929
$ 8,413,996
$ 83,633,316

Title lnsurance Declared Illegal in 1947

s 29,735,069
$ 4,221
$ 20,153,555
$ 50,841,730
s 186,739,862
s 12,226,035
$1,590,799,390
s 692,024
s 20,951,426
s 19,286,215
s 33,687,466
s 1,624,760
s 1,824,760
s 997,758,533
s 154,357,726
s 240,953,906

_9_

s 297,348 2.932%
s 613,350 1.337%
s Lro 0.000%_
s 69,083,043 4.339%
s 24,826,428 4.355%
s 241,430 4.169%
s 2,564,640 3.390%
s 23,906 1.743
$ 909,048 1.243%
$ 65,052,017 4.557%
s 501,730 1.308%
s 919,625 0.878%
s 120,018,336 4.602%
$ 303,924 0.422%
s 61,782 0.734%
s 2,690,558 3.217%
s 297,434 1.000%
s M 0.000%_
s 122,159 0.920%
s 1,738,768 3.420%
s 3,600,353 1.928%
s 336,419 2.751%
s 38,394,773 2.445%
s 24,579 3.551%
s 100,669 0.480%
s 63,581 0.329%
s 109,959 0.326%
s 4,323 0.266%
$ 665 0.036%
$ 51,598,989 5.171%
$ 3,006,982 1.948%
$ 2,095,846 0.871%

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U.S. National TIC $ 641,950 $ zero 0.000%
Westcor $ 377,822,052 $ 5,670,106 1.501%
WFG National $ 269,779,866 3 6,608,749 2.450%
Totals $10,805,249.419 $ 406.938.226 3.766%

 

34. Manifestly, no one is protecting some of the largest and most vulnerable
consumers in America, as l\/lr. Justice Jackson recognized in Unted States o.

Southeastern Underwriters, 232 U.S. 523 (1944):

“Perhaps no modern commercial enterprise directly affects so
many persons in all walks of life as does the insurance
business lnsurance touches the home, the family and the
occupation or the business of amost every person in the
United States.”

VIll. VOICES OF REASON
35. Because § 1361 l\/landamus is an equitable remedy, at a court’s discretion to issue or
not to issue, we provide evidence from other sources as compelling that either alternative at bar be
expeditiously rendered:

|:l If as a matter of fact and a matter of law the contracts sold are
“`...insurance. ..” a Writ of l\/landamus should issue, addressed to
the Honorable Steven Temer Mnuchin, requiring that the
necessary ministerial steps be taken to include the title
insurance sector of the industry in the annual reports to (i) the
President of the United States, (ii) the House Committee on
Financial Services, and (iii) the Senate Comrnittee on Banking,
Housing and Urban Affairs.

t:l However, if as a matter of fact and a matter of law the contracts
sold are not “...insurance_..”, this Court should, pursuant
expeditiously enter an order pursuant to 28 U.S.C. § 2201 so
declaring, Which order Will have “...the force and effect of a
final judgment or decree and shall be reviewable as such.”

36. We respectfully call attention to the significant chorus of “...voices of reason...” Which
Will support a declaration that the product sold is simply not “...insurance...”, in Which case there will

be no need to mandate that the Title V Reports be supplemented and the title sector be monitored

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3 7. We begin with the distinguished legal analyst, Joyce Palomar, the Kenneth E. l\/chfee
Chair in Law Erneritus and the Ada Lois Sipuel Fisher Presidential Professor of Law at the Oklahoma

College of Law, who has made the following sage comments in her 2017 Edition of The Law of Title

 

 

 

 

lnsurance:

Cl Title insurance, as opposed to other types of insurance, does not insure
against future events, Jourdanelle v. Old Republic, 830 F.3d 1195,
Vestin Mortgage v. First American Title, 101 P.3d 398.

Cl Title insurance is protection against future loss because of past events,
Lawver’s Title v. Novastar Mortgage, 862 So.2d 793.

E] Title insurance does not insure against future events, but against defects
in title existing at the time when the policy was issued, Foenrenbach v.
German-American Title & Trust Co. 66 A. 561.

38. Particularly compelling is Professor Palomar’s citation of a century-old legal maxim

at footnote one of her latest text on the subject § 5:2 lnsurance “as of the date of the policy”

“A 1903 judicial assessment of title insurance that continues to be
quoted today is that “the risks of title insurance end where the risks of
other kinds begin.” Trenton Potteries v. Title Guarantee and Trust Co.,
176 N.Y.65; 68 N. E. 132 (1903), citing authorities supporting the
concept of ending coverage on the date of issue.

39. The following reports, published prior to the passage of Dodd-Frank and prior to the
creation of the FlO, Will further assist the Court in ruling in this case:

C| 1977 Report by the United States Department of Justice: “T he Pricing
and Marketing offnsurance.' A Report bv the Department ofJustice to
the Taslc Group on Anti~T rust lmmunities. "

 

 

El 1980 Peat l\/larwick Study conducted for the United States Department
of Housing and Urban Development on issues raised by the sale of title
insurance

E| 2007 Consumer Federation of America Report on the absence of
competitive market forces in (i) an industry which is oligopolistic (ii)
for a product whose demand is inelastic (iii) in an industry where
reverse competition is the norm, (iv) kickback schemes prevail, (v)
resulting in super-normal profits.

El 2007 Govemment Accountability Office Report: “A ctions needed to
lmprove Oversi ghi Of the Tiile lndustrv and Better Proiect Consumcrs ”

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40. The industry detractors who have been calling for the guillotine to fall upon the M
industry for years are substantial: lnside America ’s Richest lnsurance Raclcet, Scott Woolley, Forbes,
November 13, 2006; Why Title lnsurance?, Albert Rush, Mortgage Banker, August 2000; How Long
Will the Good Times Roll? Auden and Palowski Special Report, l\/larch 20, 2008', Title lnsurance: is

it wanted here? New South Wales Law Joumal, November 2002; Title lnsurance: Getting Ripped Off?

 

Les Cristie, Good Moming America, January 11, 2006; Title lnsurance Profits Excessive by Anv

 

Measure, Bemard Bimbaum, Report to California lnsurance Commissioner, December, 2005; th

Anlitrust Suits and Pul)lic Understanding oflnsurance, George Priest, Vol 63, Tulane Law Review;

 

Despite Fines, lnsurers likely to Kee,o Giving Kickl)acks, Los Angeles Business Journal, November

 

l, 1999; Fidelirv to Refund $Z.ZM to Florida Residents, Fined $lM, The Title Report, September
2005; Maior Plavers in Title lndustrv Stifle Reform, lack Guttentag, lnrnan News, .luly 3, 2006; and
T he Ameriean Title lnsurance lndustrv.' How a Cartel Fleeces the American Consumer, Eaton &
Eaton, NYU Press, 2007.
IX. IT’S NOT “...INSURANCE...” IF IT IS DE-REGULATED

41. The title insurance industry is not only ‘“ill-regulated”, but every state has Confirmed
in a Freedom of lnformation survey conducted by lead plaintiff Klein that title insurance firms are
actually cie-regulated by the following states, each of which has given the title industry a “free pass”

from the rigors of filing Risk-Based Capital Reportsl.‘

Alabama: Alabama Code § 27-3-7;

M: A.S.A. 21:09.070;

Arizona: R.S. § 20-1561((1);

Arkansas: Ark. Code Ann. § 23-63-1302(8)(13)(iii);
California: Exempted by NAIC regulations;
Colorado: Exempted by NAIC regulations;
Connecticut: lnsurance Code § 38a-72-l(h)',
Delaware: Title 18, § 5801(7)',

 

Because § 313(0)(1)(A) ofTitle V called for FIO to identify “...gaps in the
regulation of insurers...”, this failure is an unforgivable shortcoming

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District of Columbia: DC Statutes § 31-2001(10);
Flo_rida: Title XXVII, Chapter 624.4085(]`);
Georgia: Georgia Code § 33-56-1(8);

wait Exempted by NAIC regulations;

M: Insurers Act § 41-5401(8);

M: 215 l.C.S. § 5/35A-5;

M: Indiana Code § 27-7-3;

lowa: Title lnsurance Prohibited;

 

M: Exempted by NAIC regulations;
Kentucky: 806 K.R. 3: 190 § 7;

Louisiana: La. R.S. 22;6(9);

l\/la_ine: Title 24, l\/[.R.S. § 6451;

l\/Iag[land: Exempted by NAIC regulations;
l\/Iassachusetts: 211 C.l\/I.R. § 20.01',
l\/lichigan: Exempted by NAIC regulations;
l\/linnesota: l\/l.S.A. § 60A.60(8);

l\/lississippi: l\/liss. Code Ann § 83-5-401(g)',
l\/lissouri: Title 18 § 5801(7);

l\/lontana: M.C.A. § 33-2-1902.210(iii)(b);
Nebraska: Stock § 44-214, Risk Based Capital Act C;
Nevada: Exempted by NAIC regulations;

New Hampshire: NH R.S.A. § 416-A;

New Jersey: N.J.S.A. § 17‘.46B~10.l;
l\/Iinnesota: l\/[l\l Stat. § 60A.60(8);

New York: NY lnsurance Law § 1324',

North Carolina: Exempted by NAIC regulations;
North Dakota: Exempted by NAIC regulations;
M: Exempted by NAIC regulations;
Oklahoma: O.S. Title 365 § 203-5;

Bg@: Exempted by NAIC regulations;
Pennsylvania: Exempted by NAIC regulations;
S. Dakota: S.D.C.L. § 58-4-48;

Tennessee: TCA § 56-35-1 12',

M: 28 TAC § 7.401(a)(2);

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Ut_ah: Exempted by NAIC regulations;

Verrnont: Exempted by NAIC regulations;
Virginia: VA Risk-Based Capital Act § 8.2-5500;
Washington: R.C.W. § 48.05.340;

W. Virginia: W.Va.Code § 33-3-5b;

Wisconsin: Exempted by NAIC regulations; and
Wyorning: W.S. § 26-48-101(a)(iii) & (iv).

X. EXPEDITED CONSIDERATION AND RELIEF REOUESTSED

42. Because the fleecing of the American consumer is so egregious and the decision is
clear-cut (one way or the other), this Court should call for an expeditious decision by the Secretary of
the Treasury; should the Secretary decide that the subject product and services are not “insurance”, we
will seek class certification of all those who have victimized by the abusive financial services exposed

43. As analyzed by the court in Klein v. Lewis Ttle, this case can only have two results, its
either “...insurance._.” or not.

44. A proposed Writ of Mandamus is filed herewith and the Court is requested to ORDER
the Honorable Steven Terner Mnuchin, as Secretary of the Department of the Treasury of the United
States of America and as the Director of the F ederal lnsurance Office established by the 2010 Dodd-
F rank Wall Street Reform and Consumer Protection Act to show cause, if any he have or can, why he
should not supplement the Annual Title V Reports for the years 2011, 2012, 2013, 2014, 2015, 2016
and 2017 to include a complete report on the M insurance sector of the insurance industry

Respectfully submitted,

/s/ Henrv L. Klein

Henry L. Klein, DC Bar Number LA0003
844 Baronne Street

New Orleans, LA 701 13

504-301-3027

hepryklein44@gr_nail.com

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